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Filed 03/07/19 Page 1of1 Page ID #:214

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Alfonso Ribeiro

Vv.
Epic Games, Inc., a North Carolina corporation;and Does 1
through 10, inclusive,

Plaintiffis),

CASE NUMBER

18-cv-10412-CJC-RAO

 

 

Defendant(s).

PLEASE TAKE NOTICE: (Cheek one)

M This action is dismissed by the Plaintiff(s) in its entirety.

O

The Counterclaim brought by Claimant(s)

NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL
PROCEDURE 41 (a) or (c)

is

 

dismissed by Claimants} in its entirety.

The Cross-Claim brought by Claimants(s)

is

 

dismissed by the Claimant(s) in its entirety.

The Third-party Claim brought by Claimant(s)

is

 

dismissed by the Claimant(s) in its entirety,

ONLY Defendant(s)

 

 

is/are dismissed from (check one} O Complaint, 0 Counterclaim, 0 Cross-claim, 0 Third-Party Claim

brought by

 

The dismissal is made pursuant to F.R.Ciy.P. 41(a) or (c).

03/07/2019

So

 

 

Date

Signature of Aitorney/Party

NOTE: FLR.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

FLR.Civ.P. 41(o): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive

pleading or prior to the beginning of trial.

 

C¥-09 (03/10)

NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (©)
